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                             U NITED STATE S D ISTRIC T C O U RT
                             SOUTHERN DISTRICT OF FLO RIDA
                            CaseNo.:16-cv-81798-M IDDLEBROOK S

   TTT FOODS HOLDING COM PAN Y LLC,
   a Floridalim ited liability company,

           Plaintiff,



   BEATRICE NAM M ,an individual,
   JONTHAN N AM M ,an individual,and
   DELUXE GOURM ET SPECIALTIES LLC,
   aN ew Jersey lim ited liability com pany,

           Defendants.


                    ORDER GM NTING IN PART AND DENYING IN PART
                      PA R TIA L M O TIO N FO R SUM M AR Y JUD G M EN T

           THIS CAUSE comesbefore theCourton PlaintiffTTT FoodsHolding Company LLC'S

   (diplaintiff')PartialM otion forSummary Judgment($1M otion''),filed on April17,2017. (DE
   74).DefendantsBeatriceNamm (ç$Mrs.Namm.''),JonathanNamm ($(M r.Namm''),and Deluxe
   GourmetSpecialties LLC ($$De1uxe'')(collectively,iiDefendants'') filed a response on M ay 3,
   2017 (DE 80),to which Plaintiffreplied on May 10,2017 (DE 85). Plaintiffseekssummary
   judgmenton Counts1,1I,111,V,VI,and V11. Forreasonsstated below,PlaintiffsM otion is
   granted in partand denied in part.

      1.      Background

              a. Bea'
                    sBrooklyn'
                             sBest

           Before D ecem ber 2012,M rs.N am m purchased and sold pasta,barbeque sauce,and salsa

   (sspastaBusiness'')to variousretailersanddistributorsthroughDeluxe,whichdid businessunder
   thetradename(ûBea'sBrooklyn'sBest.''(Plaintiff'sStatementofFacts(ûiPSOF''),DE 75!! 1,
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   2;Defendants'StatementofFacts(%$DSOF''),DE 82 ! 1).OnDecember11,2012,Mrs.Namm
   and Plaintiffentered into an AssetPurchase Agreement,in which M rs.Namm transfezred the

   PastaBusinessanda11ofDeluxe'sassetsfrom DeluxetoBea'sBrooklyn'sBest,LLC ((tBBB''),
   a new ly organized Florida limited liability com pany,and Plaintiff paid $300,000 for a 49%

   ownership interestin BBB (diAssetSale''). (PSOF !! 3,4;DSOF ! 1). M rs.Namm owned the
   remaining51% interestinBBB.(PSOF!3;DSOF!g1).
                 TheSettlement

          Relationsdeteriorated between Plaintiffand M rs.Namm ,leading to litigation in January

   2015. (PSOF ! 5;DSOF ! 1;M rs.Namm AftidavittdtNamm Aff.''),DE 81! 56). ln M arch
   2015,thepartiesto the litigationreached a Settlem entAgreement,in which Plaintiffsurrendered

   its 49% interest in BBB, and in exchange, BBB agreed to pay Plaintiff $320,000.01

   (fssettlemenf').(PSOF !5;DSOF ! 1).BBB agreedtopay $150,000 in cash,andexecuted two
   promissory notesand security agreementson M arch 27,2015 ($iNotes''),promising to pay the
   remaining$170,000.01toPlaintiff.(PSOF !5;DSOF ! 1;Notes,DE 75-3).
                 Foreclosure on theNotes

          On June 3,2015,Plaintiffsued BBB fordefaulting on itspaym entsdueundertheNotes.

   (PSOF! 14;DSOF!7).OnApril18,2016,Palm Beach CountyCircuitCourtfoundin favorof
   Plaintiff,and awardedPlaintiff$176,001.76,plus4.75% interest. (PSOF ! 15;DSOF ! 8). On
   M ay 16, 2016, the state court awarded Plaintiff $47,178.68 in attorney's fees,plus 4.78%
   interest. (PSOF ! 17;DSOF ! 8). Based on the state court'sjudgment,BBB isindebted to
   Plaintiffin theamountof$233,593.59,asofApril17,2017 (isludgment''),noneofwhich had
   beenpaid asofthedateoffilingtheinstantComplaint.(PSOF !! 18,19;DSOF !8).
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             J ileluxe

         Afterthe Decem ber12,2012A ssetSale,BBB'Srevenue wassupposedto be deposited in

   BBB'Sbankaccounts.(PSOF! 9;DSOF !2).OnJuly 1,2014,M rs.Namm openedachecking
   account,No.6618,andasavingsaccount,No.8470,inthennmeofDeluxe.(PSOF!(8;DSOF!
       Deluxe's bank statements for account no.6618 show $307,363.83 in deposits beginning
   February 24, 2015and endingOctober5,2016.1 (PSOF ! 11;DSOF !4). Mrs.Namm testified

   thatshedeposited BBB'Sfundsinto Deluxe'sbank accountbecause Plaintiffwasidthreatening to

   justtakeeverything away''intheforeclosurelawsuit,and sheneededtocontinuepayingBBB'S
   expensesand herpersonalexpenses,such ashermortgage. (PSOF ! 12;DSOF ! 5). In her
   Statement of Facts and affidavit, M rs. Namm now asserts that her prior testimony was

   tsm istaken'' and that she deposited the funds into Deluxe's bank accounts because som e

   customersmadetheircheckspayabletoDeluxe.(DSOF!!3,4).
         M rs.Nam m also testitied thatshe deposited BBB'Srevenue into Deluxe'sbarlk accounts

   because(kliltwasa11stillthesameattheendoftheday''sinceBBB and Deluxewerel'oneinthe
   snme.'' (M rs.Namm Deposition (ssNamm Dep.''),DE 75-1,94:19-95:2). M rs.Namm wasthe
   solememberof,and in chargeofday-to-dayoperationsfor,BBB andDeluxe.(PSOF !!25-27;
   DSOF ! 10). Mrs.Namm testifiedthatBBB and Deluxeoperateoutofthesamelocation,share
   thesamecustomers,manufacturers,andfreightcompanies,andsellthesameproduct.(PSOF !!
   28,29,31,32,33).M rs.Namm now deniesthesestatementsasmisleadingbecause,sheasserts,
   Deluxewasnolongerin businessafter2012.2 (DSOF! 12).


   1M rS. Nam m doesnotdeny thatthedepositsinto Deluxe'sbartk accountsbegan in February 24,
   2015,(DSOF ! 4),although she previously testified in herdeposition thatshe did notbegin
   depositing BBB 'S revenue into D eluxe's bank accounts until M arch,A pril, or M ay of 2016.
   (PSOF!10;DSOF!3).
   2M rs Namm alsoclarifiesthatpriortoM arch2015,BBB operatedoutofFlorida.(DSOF! 11).
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          A few m onths before the Settlement,on January 15,2015,M rs.N amm organized JM T

   Food Group,LLC (t$JM T''),and listed herself as manager. (PSOF ! 7;DSOF ! 1). On
   September16,2015,Mrs.Namm openedbank accountno.8586forJM T.(PSOF !24;DSOF !
   10). Mrs.Namm isthe sole member of,and in charge of day-to-day operations for,JMT.
   (PSOF IT 25,27;DSOF ! 10).JM T operatesoutofthesamelocationasBBB andDeluxe,and
   sharesmanyofthesamecustomers.(PSOF!!28,30;DSOF! 11).
                 Transfers
          Plaintiffasserts thatafterthe M arch 27,2015 Settlem entthrough December 31,2016,

   BBB,Deluxe,and JM T transferred $239,181.20 to orfor the benefitof M r,and M rs.Namm .

   (PSOF!!45,46). Mrs.Namm countersthat$78,689.67wasforrepaymentofaloanshemade
   to BBB, $16,210.81 was for her BBB salary, and the rem ainder was for BBB'S business

   expenses.(DSOF!!(21,22).
          Plaintiff further assertsthat,since the Settlement,BBB'S bank records show thatBBB

   transferred $102,522.44 to orforthebenefitofM r.andM rs.Namm.(PSOF !34;DSOF !!21,
   22). M rs.Namm deniesthisstatement,citing heraffidavit.3 (DSOF ! 13). TheParticsdo not
   dispute thatthese transfers include $32,400 transferred to Deluxe aher the state courtsuitwas
   filed,as wellas payments to two mortgage companies,to which M r.Nam m owed m ortgage

   payments forthe Namm s'personalresidence,and to Toyota and Progressive lnsurance forM r.

   Namm's vehicle. (PSOF !! 35,37,38;DSOF !! 14,16). Mrs.Namm explains thatthe
   paym ents to Deluxe w ere necessary because BBB 'S m anufacturer shared the sam e bank as

   Deluxe,and M rs.Namm wanted to avoid transferfees. (DSOF ! 14).On September20,2016,

   3 c ircularly, M rs.N am m 's affidavitcontains the exact sam e blanketdenialas her Statem entof
   Fact.(Namm Aff,!94).
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   in response to an interrogatory in aid of execution on Plaintiffs Judgm ent,M rs.Nam m,on

   behalfof BBB,swore thatBBB had notsold ortransferred personalproperty in the lastfour

   years,although M rs.Namm statesthatshemisunderstood the question. (PSOF ! 36;DSOF !
   15).
          Plaintiff asserts that, since the Settlement, Deluxe's bank records show that Deluxe

   transferred$118,737.56 to orforthebenefitofM r.andM rs.Namm .(PSOF! 40). Mrs.Namm
   deniesthatthesetransferswere forherorMr.Namm 'sbenefit,citing heraffidavit.4 (DSOF !

   17). The Partiesagreethatthisamotmtincludes$11,365transferred to JM T sinceFebruary 2,
   2016.(PSOF !41;DSOF! 18).W henasked,inherdeposition,aboutaspecific$1,805transfer
   from Deluxeto JM T,M rs.N amm testitied thatshe did notknow whythem oney wastransferred

   and thatDeluxedidnotreceiveanythinginreturnf0rthetransfer.(PSOF !43;DSOF! 19).
          Between M arch 9,2016 and February 13,2017,M rs.Nam m deposited checks made

   payabletoDeluxe,whichtotalled $3,718.89,intoJMT'Sbank accountno.8565.(PSOF !42).
          SinceDecember1,2015,JM T transferred $21,988.08to M r.andM rs.Namm. (PSOF!
   44;DSOF!20).
          ThemoneydepositedintotheNamms'BankofAmericajointchecking accountno.2389
   and TD Bankjointsavingsaccountno.3496 wasused forfamily expensesand benefitted Mr.
   Namm. (PSOF !48;DSOF !25). In hisdeposition,Mr.Namm testified thatheneverworked
   forBBB,Deluxe,orJM T,and neverprovided anything in exchange forthem oniespaid him by

   BBB. (PSOF ! 47;Jon Namm Deposition (t'J.Namm Dep.''),DE 75-28,12:6-21). However,




   4 M rs. Namm 's affidavit contains the exact snm e blanket denial as her Statement of Fact.
   (Namm .Aff.!97).
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   Mrs.Nnmm assertsthatMr.Namm dtdid assistherfrom timeto time in herwork for(BBBj.''5

   (DSOF !24).
          Plaintiffassertsthatthere isno evidence that$16,210,81in transfersfrom BBB,Deluxe,
   and JM T were forM rs.Nam m 'ssalary,to which M rs.Namm repliesthat'sthere isevidence that

   som e ofthe transfers,whatevertransfersare being referred to by Plaintiffatthe tim e,were for

   hersalary.'' (PSOF ! 50;DSOF !27;Namm Aff.! 101). NeitherBBB norJM T maderegular
   paymentsin equalamountsto M rs.Namm .(PSOF ! 50;DSOF ! 27). TheNamms'personal
   2015 tax return shows gross incom e of $47,846,and M r.Nam m testified thathe makes about

   $40,000peryear.(PSOF!52;DSOF !29).TheNammspaidnoself-employmenttaxfor2015,
   and did notattach Schedule SE forreporting self-employmentincome to their2015 tax return.

   (PSOF ! 54;DSOF !31). M r.Namm testified thathedoesnotknow why noneofthemonies
   received from BBB,Deluxe,orJM T areshown on theNnmms'2015 tax return. (PSOF ! 53;
   DSOF !30).
                 BBB '
                     s Insolvency

          Plaintiff's expertprepared a report($iReport''),which reconstructed the monthly end
   balancesheetsforBBB from M arch 27,2015 through June 30,2016. (PSOF ! 58;Report,DE
   75-31). TheReportcalculated BBB'Sassetsbased on thecash in itsbank accounts,thebilling
   reportsto itsprim ary custom ers,Costco and W almart,the assum ption thatBBB had 45 daysof

   inventory atan average costof45% ofrelated sales,and its2015 federaltax return showing that

   ithadnofixedassets.(Reportat3).TheReportcalculatedBBB'Sliabilitiesbasedonthebilling
   statem ents from its m anufacturer and the debt ow ed to Plaintiff under the N otes and,

   subsequently,theJudgment.(Reportat4).TheReportconcludedthatBBB wasinsolventfrom

   5 M rs. N am m cites to her afûdavit, which states the sam e conclusion w ithout providing any
   supportingevidence.(DSOF!24).
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   M arch 27,2015 through June 30,2016 becauseitsliabilitiesexceeded itsassetseach m onth,by

   amountsrangingfrom $133,783to$239,957.(PSOF!58).
         Mrs.Namm deniesthatBBB wasinsolvent. (DSOF ! 32). She statesthattheexpert
   shouldnothaveincludedthefullamountdueonPlaintifpsdebteach month. (DSOF !32). She
   also states that she idbelievegsq the Recipes have a significant value today,which exceeds
   Plaintiffsdebt.''tNamm Aff.!! 13,105).AsevidenceofthevalueofherRecipes,M rs.Namm
   pointsto the AssetPurchase Agreement,underwhich Plaintiff paid $300,000 kkfor49% ofthe

   assetsofDeluxe,the biggestassetofDeluxe being the Recipes.'' t'Namm Aff.! 8). Finally,
   Mrs.Namm assertsthatilbutforPlaintifpsintentionalinterferencewith (BBB'SIcustomers...
   (BBBIwasmakingmoney.''(DSOF!32).
                DissolutionOfBBB
         On June 3,2016,lessthan three weeksaherthe Judgm ent,M rs.Namm filed Articlesof

   Dissolution forBBB,and on June l3,2016,she filed a Dissociation orResignation ofM ember,

   Manager. (PSOF !! 20,22;DSOF ! 8). Afterfiling the ArticlesofDissolution,M rs.Namm
   continued to sellBBB'S productsand deposittherevenue into Deluxe'sbank accountno.6618,

   although M rs.Namm states thatthese transactionswere partofthe winding down ofBBB and

   thatthclastcheckclearedonJune26,2016foran invoicemailedon M ay 15,2016.(PSOF!23;
   DSOF!9).
                Theinstantaction

         On October26,2016,Plaintifffiledtheinstantaction.(DE 1). On Novcmber2,2016,
   Plaintiff filed an Amended Complaint(Vscomplaint'),alleging:(1) violation of Fla.Stat.j
   726.105(1)(a)oftheFloridaUniform FraudulentTransferAct(CIFUFTA'')againstMrs.and M r.
   Namm (ttcount1'');(2)violation ofFla.Stat.j726.105(1)(b)ofFUFTA againstMrs.and M r.
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   Namm (itcount11'');(3)violation ofFla.Stat.j 726.106(1)ofFUFTA againstMrs.and M r.
   Namm (tdcount111',);(4)violation ofFla.Stat.j 726.106(2)ofFUFTA againstM rs.and Mr.
   Namm (iscount lV'');(5)breach offiduciary duty under Florida common 1aw againstM rs.
   Namm ('scountV'');(6)successorliability againstDeluxe(dscountVI'');and (7)entitlementto
   declaratoryreliefunder28U.S.C.j2201thatMrs.Namm andDeluxearethealteregosofBBB

   ('tcountVII'').(Complaint,DE 20).
      1I.      Standard

            ii-rhe courtshallgrantsummaryjudgmentifthemovantshowsthatthereisno genuine
   dispute astoanymaterialfactand themovantisentitled tojudgmentasamatteroflam '' Fed.
   R.Civ.P.56(a). fiGenuine disputesarethose in which the evidence issuch thata reasonable
   jurycouldretul.naverdictforthenon-movant.''Ellisv.England,432F.3d 1321,1325-26(11th
   Cir.2005). GiForfactualissuesto be considered genuine,they musthave a realbasisin the
   record.''1d.at1326 (internalcitationomitted).itForinstance,mereconclusionsandunsupported
   factualallegationsare legally insufticientto defeata summaryjudgmentmotion.''1d.(intemal
   citation omitted). StM oreover,statementsin affidavitsthatare based,in part,upon information
   and belief,cannotraisegenuine issuesoffact,and thusalso cannotdefeatam otion forsummary

   judgment.''1d.(internalcitationsomitted).
            The movanti'alw aysbears the initialresponsibility ofinform ing the districtcourtofthe

   basis for its motion,and identifying those portions of 'the pleadings,depositions,answersto

   interrogatories,and adm issions on file,together with the affidavits,ifany,' which itbelieves

   dem onstrate the absence of a genuine issue of m aterialfact.'' Celotex Corp.v.Catrett,477 U .S.

   317,323 (1986)(quotingFed.R.Civ.P.56(c)(1)(A)).W henthemovingpartybearstheburden
   ofproofattrial,dfthe m oving party mustshow that,on a1lthe essentialelem ents ofits case on


                                                   8
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   which itbearsthe burden ofproofattrial,no reasonablejury could find forthe nonmoving
   party.'' United Statesv.FourParcels of RealProp.in Greene & Tuscaloosa C/yl.in Stateof
   Ala.,941 F.2d 1428,1438 (11th Cir.1991) (internalcitation omitted). Stlfthe moving party
   makessuch an affirmative showing,itisentitled to summaryjudgmentunlessthe nonmoving
   party, in response, com es forward with significant, probative evidence dem onstrating the

   existenceofatriableissueoffact.''Id (internalquotationsandcitationsomitted).
      111.   D iscussion

         First,1addressDeluxeand Mrs.Namm'sjointliability forBBB'Sdebtto Plaintiffunder
   CountsV1and Vl1,respectively. N ext,Iaddress M rs.Namm 'sliability forbreach offiduciary

   duty under CountV. Last,I address M r.and M rs.Namm 's liability for fraudulenttransfers

   underCounts1,11,and 111.

      A. CountV I:Successor L iability

          UnderCountVl,Plaintiffseeksto hold Deluxejointly liable forthe Judgmentagainst
   BBB intheamountof$233,593.
                            59 asofAprill7,2017,underatheory ofsuccessorliability.6
      ,




   6 Plaintiff cites no cases, and the Courtis unaware of any,forthe proposition that successor
   liability isan independentcauseofaction. See,e.g.,Coffman v.Chugach SupportServs.,Inc.,
   411F.3d 1231,1237 (11thCir.2005)(notingthatsuccessorliabilityisanequitabledoctrine,and
   applying itto a cause ofaction underthe Uniformed ServicesEmploymentand Reemploym ent
   RightsActof1994);Tindallv.S (:  QSHomes,LLC,No.5:10-CV-044 CAR,2011W L 4345189,
   at *3 (M .D.Ga.2011) (ttg-l-jhe theory of successor liability merely provides a plaintiff an
   alternative entity from whom to recover;itdoes notcreate a new cause of action againstthe
   successorwhich isindepcndentoftheunderlyingtort.'');lnreFairchildzqircrah Corp.,184B.R.
   910,920tBankr.W .D.Tex.1995)(itgsluccessorliability doesnotcreateanew causeofaction
   againstthepurchaserso much asittransfersthe liability ofthepredecessorto thepurchaser.'')
   (emphasis removed), vacated on other grounds, 220 B.R,909 (Bankr.W .D.Tex. 1998).
   However,courtspermitan action fordeclaratoryjudgmenton the issue ofsuccessorliability,
   See,e.g.,Tindall,No.5:10-CV-044 CAR,2011 W L 4345189,at#4;In re FundamentalLong
   Term Care,fnc.,507B.R.359,371tBankz.M .D.Fla.2014).TheComplaintsufficientlyalleges
   acause ofaction fordeclaratory reliefontheissueofsuccessorliability.
                                                9
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          Florida honors dsthe 6traditionalcorporate 1aw rule'which doesnotautomatically impose

   theliabilitiesofa predccessorcorporation upon a successorcorporation unless:

          (1)thesuccessorexpresslyorimpliedlyassumesobligationsofthepredecessor,
          (2)thetransactionisadefactomerger,
          (3)thesuccessorisamerecontinuation ofthepredecessor,or
          (4)thetransactionisafraudulentefforttoavoidtheliabilitiesofthepredecessor.,,7

   Amjad Munim,M D.,P.A.v.Azar,648 So.2d 145,151(F1a.4th DCA 1994)(citing Bernardv.
   KeeMfg.Co.,409 So.2d 1047,1049(Fla.1982));seealso CentimarkCorp.v.ad to Z Coatings
    tf Sons,Inc.,288 F.App'x 610,614(1lth Cir.20089.PlaintiffarguesthatDeluxeisliablefor
    BBB'Sdebtbecause BBB and Deluxeengaged in a de facto mergerorbecauseDeluxeisam ere

    continuation ofBBB.8
           Ss-f'
               he conceptofcontinuation ofbusinessariseswherethesuccessorcorporation ismerely

    a continuation orreincarnation ofthepredecessorcorporation undera differentnam e.'' M unim,

    648 So.2d 145at154 (citingBudAntle,Inc.v.EasternFoods,Inc.,75$F.2d 1451,1458(11th
    Cir.)(enbanc),reh'
                     g denie4 765F.2d 154(1985)).iigclontinuityofthesellingcomoration (isl
    evidenced by such things as the samc managem ent, personnel, assets, location and

    stockholders.''9 Id.(quoting 300 Pine lsland Assoc.v.Steven L.Cohen (Q Assoc.,547 So.2d
    255,256(Fla.4thDCA 1989));seealso CentimarkCorp.,288F.App'xat615(holdingthatthe

    1UnderFlorida law , Skgcllaimsinvol
                                      ving tinternalaffairs'ofcorporations,..aresubjecttothe
    lawsofthestateofincorporation.''ChatlosFound,lnc.v.D '
                                                         Arata,882 So.2d 1021,1023(F1a.
    5thDCA 2004)(quotingDavis& Coxv.SummaCorp.,751F.2d 1507(9thCir.1985)).Because
    BBB is a Florida lim ited liability company,and the issue of successor liability deals with its
    internalaffairsstheCourtappliesFlorida law. In addition,Defendantsdo notdisputethatFlorida
    law applies.
    8 Because Itqnd thatD eluxe is a m ere continuation of BBB lneed notdeterm ine w hether a de
    facto m ergeroccurred.
    9içAlthough (JppPineIslandusedjthewords$de facto merger'...,clearly thestandardbeing
    appliedwasprim arily thatoftm erecontinuation ofbusiness.'''M unim,648 So.2d 145at154.
                                                  1O
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   Stevidence establishes thatA to Z G eorgia and A to Z Florida had greatoverlap in their officers,

   directors,personnel,assets,and stockholders,and accordingly,defendantshave notshown that

   thecourterred in ûnding A to Z Florida liableto (plaintiftl asa mere continuation ofA to Z
    Georgia''). ii-f'
                    he key elementofacontinuation isa common identity oftheofficers,directors
    and stockholders in the selling and purchasing corporation.'' Id çkproof offraudulentintentis

    notan integralelement.''M unim,648 So.2d at153.

          InMunim,theFourthDistrictCourtofAppealsaffinnedsummaryjudgmenton successor
    liabilitywhereasuccessorentitydiprovidedthesame()servicesinthesameofficewiththesame
    files,patients,nurses,clericalhelp,officemanagerand thesamemajorplayer,Dr.M unim - the
    sole stockholder in and presidentof each P.A.'' 1d.at 154-55. Dr.Azar,an em ployee atDr.

    Munim'smedicalpractice,M unim P.A.,obtainedajudgmentagainstMunim P,A.forbreach of
    employm ent contract, for which he sought to hold M unim P.A 's successor, Pulmonary

    Associates,liable. 1d.at 149. The courtfoundthatPulm onary Associateswasliable forM unim

    P.A.'SdebtasamerecontinuationofM unim P.A.where(1)Dr.M unim incomoratedPulmonary
    Associates 12 days afterjudgmentwas entered againstMunim P.A.,(2)six weeks after the
   judgment,M unim P.A.ceased seeing patientsand Pulmonary Associatesbegan seeing those
    same patients,(3) Pulmonary Associates offered the same services as M unim P.A,(4)Dr.
    M unim was sole shareholder,president,and managerofday-to-day operations ofboth entities,

    and(5)PulmonaryAssociateshad thesameequipmentandstaffasM unim P.A.1d at150-151,
    The court found thatDr.M unim 's affidavit,stating that he misspoke when he testified that

    M unim P.A .was no longerin business,w as unsubstantiated by any evidence and did notraise a

    genuine issue ofmaterialfact.ld at151.




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          Here,thc undisputed factsshow thatM rs.Namm operated Deluxeasa merecontinuation

   of BBB. M rs.Namm was the sole mem ber,in charge ofday-to-day operations,forBBB and

   Deluxe.BBB andDeluxeoperatedoutofthesamclocation.(Answer,DE 29T2).M rs.Namm
   testitied thatthey shared the same customcrs,manufacturers,and freightcompanies. (Namm
   Dcp.,24:l-24,32:l0-16,43:7-12). They sold thesame products. (Namm Dep.,21:21-22:10).
   lndeed,although Deluxe sold the Pasta Businessto BBB in 2012,M rs.Namm testified thatshe

   opened bank accountsforDeluxe in 2014,and deposited $307,363.83 in revenue from thePasta
   Businessinto them from February24,2015,im mediately beforethe Settlem ent,through October

   5,2016.(Namm Dep.,91:5-14). M rs.Namm explained thatcustomers made their checks
   payableto Deluxe, thatshe wanted to avoid Plaintiffseffortsto gam ish BBB ,saccounts,10and

   thatt'giltwasallstillthesnmeattheendoftheday''becauseBBB and DeluxewereSçonein the
    same.'' (Namm Dep.,91.5-14,94:19-95.
                                       .2). On June 3,2016,lessthan threeweeksafterthe
   Judgment, M rs.Namm filed Articles of Dissolution for BBB. After filing the Articles of

    Dissolution,M rs.Namm continued to depositrevenue from the Pasta Business into Deluxe's

    bank accounts.11

          In opposition,M rs.Nam m assertsthatalthough BBB and Deluxe atonetim e shared the

    same location, customers,m anufacturers, freight companies, product, and m ember-m anager,

    Deluxewasno longerin businessafter2012,and therefore cannotbe acontinuation ofBBB, As

    evidence thatDeluxe was in business after2012,Plaintiffoffersundisputed evidence thatM rs.


    10 M rs. N am m now asserts that she was Ssmistaken''when she testified thatshe deposited the
    funds in Deluxe's account to avoid Plaintiffs efforts to collect the debt that BBB owed to
    Plaintiff. However,even if M rs.N amm did notuse Deluxe's bank accountto avoid BBB'S
    creditor,fraudulent intent is not required to impose successor liability under a continuation
    theory. See M unim ,648 So.2d at 153.
    11M rS. N amm assertsthatthe checks deposited in Deluxe'saccountsafter she filed Articlesof
    Dissolution forBBB werepartofwinding down BBB. M rs.Nam m doesnotexplain why BBB'S
    profitswould go to Deluxeaspartofwinding down BBB,ratherthanto pay ofBBB'Sdebts.
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   Namm opened new bank accounts forDeluxe in 2014,thatshe deposited $307,363.83 in Pasta
   Businessrevenue into the accounts,and thatM rs.Namm testified thatDeluxe used Kaltec asa

   manufacturerfrom 2012to2016.(Namm Dep.,24:19-20).
           M rs.Namm doesnotrebutPlaintiffs evidence. ln heraffidavit,M rs.N amm states that

   Deluxt received profits from Pasta Business revcnue because Plaintiffnevertold customersto
   m akecheckspayableto BBB,so they continued to m ake checkspayableto Deluxe.lz w hilethe

   CourtacceptsM rs.Nnmm 'sstatem cntastrue asto those checksmade payableto Deluxe,itdoes

   notexplain the multiple checks made payable to BBB,which M rs.Namm also deposited into

    Deluxe'sbank account. (DE 75-7)DE 75-8).Furthermore,Mrs.Namm admitsthatsheopened
    bank accounts for Deluxe in 2014, and does not address her prior statement that Deluxe

    continued to use Kaltec as a manufacturer after2012, Accordingly,M rs.Namm affidavitdoes

    create a genuine issue ofm aterialfactasto whetherD eluxe w as in business afler2012.

           ln sum , beeause the undisputed evidence shows that Deluxe operated as a m ere

    continuation ofBBB underadifferentnam e,Plaintiff'sM otion forSum mary Judgmenton Count

    V1isgranted. PlaintiffisentitledtoadeclaratoryjudgmentthatDeluxeisliableforBBB'Sdebt
    to Plaintiffunderthe Judgm ent,which was$233,593.59 asofApril17,2017.
       B. CountV I:Piercing the C orporate V eil

           Plaintiff seeks a declaratory judgment that Mrs.Namm is liable for BBB'S debtto
    Plaintiffunderatheory ofpiercing the corporateveil.




    12 M rs. Nam m admitsthatshe couldhavecontactcd these customersand told them to makethe
    checkspayableto BBB,butshedidnotbecauseshetshada1otgoingon.''(Namm Dep.,95:12-
    20).
                                                  13
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           dlunder Florida law , the com orate veil will only be pierced to prevent fraud or

   injustice.'513 Eckhardtv United States,463 F.App'x 852,855 (11th Cir.2012)(citingDania
                           ,




   Jaia laiPalace,Inc.v.Sykes,450 So.2d 1114,1121(F1a.1984)).dç'
                                                               l'o piercethecorporateveil
    inFlorida,aclaimantmustestablish'
                                    .

           (1)theshareholderdominated and controlled the corporation to such an extcntthatthe
           corporation'sindependentexistencewasin factnon-existentand the shareholderswere in

           factalteregosofthe corporation;

           (2)thecorporateform musthavebeenusedfraudulentlyorforanimproperpupose;and
           (3)thefraudulentorimproperuseofthecoporateform causedinjurytotheclaimant.''l4
    1d.at855-56(citingGaspariniv.Pordomingo,972 So.2d 1053,1055(F1a.3dDCA 2008)),The
    issueisfact-specific,butmay be decided on summary judgment. Id at856 (citing M illerv.
    HarcoNat1Ins.Co.,241F.3d 1331,1332-33(11thCir.2001)).
                      i. Domination and Control
           'r ne important factor relevant to whether an individualdom inates the corporation to

    such an extentas to negate its separate identity is whethercorporate funds were used forthe

    individual'sbenefit.''ld (citingDaniaJai-AlaiPalace,450 So.2d at1120);seealso Walton v,
    Tomax Corp.,632 So.2d 178,180 (Fla.5th DCA 1994)(finding corporate officerdominated
    cop oration where he i%depleted corporate assets for the personalbenefks of him self and his

    farnily'').




    13 A s discussed above, because BBB is a Florida lim ited liability com pany and piercing the
    corporate veilinvolves itsinternalaffairs,Florida law applies, See ChatlosFound ,882 So.2d
    at1023.Defendantsdo notdisputetheapplication ofFloridalaw.
    14 The veil-piercing doctrine applies to limited liability companies. XL Vision, LLC.
    Holloway,856 So.2d 1063,1066(F1a.5thDCA 2003).
                                                 14
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          In Eckhardt, the Eleventh Circuit found the sole owner and president dominated a

   corporation where he transferred funds from the corporate account for his benefit,including

   directtransfersto his mortgage company. 1d.at856-57. Although thepresidentargued thatthe

   transfers were compensation forhis services,the courtfound no evidence thatthe checks were

   written forhissalary,and noted thathe had previously testified thathe did notknow why hehad

   written him self a check. f#.at 857. Nevertheless,even assum ing the transfers were for the

   president's salary, the court found that direct transfers from the corporate account to the

   president'sm ortgage company $$asa m atterofconvenience''showed disregard forthe corporate

    form and comm ingled corporate funds,thereby representing the president's dom ination and

    controlofthe corporation.Id
          Here,the undisputed evidence showsthatM rs.Namm,thesole mem berin charge ofday-

    to-day operationsofBBB,made transfersfrom BBB forherpersonalbenefitand the benefitof

    her family.15 These transfers included direct transfers to pay the m ortgage on the N amm s'

    personalresidenceanddepositsintotheNamms'jointbankingaccountsforfamilyexpenses.
          Although M rs.N amm asserts thatsome ofthe transfersw ere for a loan rcpaymentand

    compensation for her services to BBB,she offers only a conclusory statem entin her affdavit,

    unsupportedbyany specificdetailsorotherevidence.$iTosurvivesummaryjudgment,opposing
    affdavitsmustsetforth specscfactsshowing thatthereisan issue fortrial.'' Hillv.OilDri
    Corp.ofGeorgia,198F.App'x 852,858(11th Cir.2006)(citing Fed.R.Civ.P.56(e);feigh v.
    WarnerBros.,212 F.3d 1210,1217(11th Cir.2000))(emphasisin original)(holdingthatanon-
    m ovant'sconclusory affidavit,lacking in speciic facts,isinsufûcientto create genuine issuesof

    materialfact). ln her affidavit,Mrs.Namm states that çtthere is evidence thatsomc ofthe


    15M rs. xam m doesnotdisputethatshecaused BBB to makethetransfers.
                                                 15
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   transfers,whatevertransfers are being referred to by Plaintiffatthe tim e,were forhersalazy.''

   (Namm Aff.!r101). W hileM rs.Namm identifiesspecifictransfersmadeforbusinessexpenses,
   albeitwithoutany receiptsto supportherassertions,shem erely concludesthatthebalance ofthe

   transferswasfora$78,689.67loan andhersalary.(DSOF!23).
          ln contrast to M rs.Nam m 's conclusory affidavit, Plaintiff's evidence shoyvs that no

   regularpayments in equalamounts were made to M rs.Namm. (PSOF jj51;DSOF ! 28).
   Furthermore,itis undisputed thatthe Namm s'2015 personaltax return showstheN amm spaid

   no self-employm enttax for2015,and did notattach Schedule SE forreporting self-employm ent

   incom e to their tax return. M r.N am m testified thathe does notknow why the m oniesreceived

   from BBB are notshown on the Namms'2015 tax retunz. (J.Namm Dep.,14:21-24). In
   addition,theNamm s'2015 tax return showsa grossincome of$47,846,and M r.Nnmm testiûed

   thathe m akes about $40,000 per year. Finally,there is no evidence docum enting a loan,or
   repaymentson theloan.

          Furthermore,BBB made directtransfersto third parties,including transfersto pay M r.

   Namm'smortgage on theNamms'personalresidence. (PSOF T! 37-38;DSOF ! 16). These
   directtransfers show a disregard for the corporate form and comm ingling of corporate funds,

   which furtherestablish M rs,Namm 'sdom ination and controlofthe corporation. 1d.

          Accordingly,M rs.N nmm 's use of corporate funds for her and her fam ily's personal

   benefitand hercom ingling ofcorporate funds show thatM rs.N amm dom inated and controlled

   BB B to such an extent that there w as no m eaningful difference betw een M rs.N am m and the

   corporate form ,BBB .




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                     ii. ImproperorFraudulentPurpose

          Under the second element,Plaintiff mustprove that BBB was fonned or used for an

   improper or fraudulentpurpose. Eckhardt,463 F.App'x at 857;Advertects,Inc. v. Sawyer

   Industries,Inc.,84 So.2d 21,24 (Fla.1955)(holdingcorporateveilmay bepierced where the
   organization was tsemployed by the stockholders for fraudulentor m isleading purposes,or in

   som e fashion thatthe com orate propcrty was converted orthe com orate assetsdepleted for the

   personal benefit of the individual stockholders, or that the cop orate structure was not bona

   fidely established or,in general,thatproperty belonging to the corporation can betraced into the

   handsofthe stockholders.''). Abuse ofthe corporate form to defraud creditors,including by
   m aking inappropriatedistributionsattheexpenseofcorporate creditors,constitutesimproperuse

    ofthe coporate entity. See Walton,632 So.2d at 180-81 (reversing directed verdictwhere
    Sltherewasevidencewhich ...tended toshow thatgcorporatedirector)depleted comorateassets
    for the personalbenefitof him selfand his family while the corporation was unable to pay its

    debts'');Molinos ValleDelCibao,C.porA.v.Lama,633 F.3d 1330,1349-50(11th Cir.2011)
    (Becauset'shareholdersincomorateto limittheirliability,creatingaseparateentitythatislapart
    from itsstockholders'... courtswillnotignore thisseparate entity so long asthe stockholders

    makeçproperuse'ofthisfiction;theymustnotuselimitedliabilitytodefraud creditors.'')(citing
    Dania Jai-AlaiPalace,450 So.2d at1119);Eckhardt,463 F.App'x at857 (finding improper
    use ofcop oration to evade em ploymenttaxeswhere presidenttransferred over $100,000 from
    corporate account to his personal accounts despite corporation's unpaid employm ent tax

    liabilities);c/ Advertects,84 So.2dat24 (refusingto piercecoporateveilwheretherewasSfno
    showing ata11thatthestockholdershad im properly converted anyofitsproperty to theirown use

    orinanyfashionfraudulentlyorinequitably abusedtheirrelationship withthecorporateentity'').


                                                  17
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          In Eckhardt,M r.Eckhardtform ed anew com oration,KCCI,afterthe IRS filed anotice

   of tax lien for unpaid taxes againsthis previous corporation. Eckhardt,463 F.App'x at854.

   KCCI subsequently incurred em ploym enttax liabilities,which the IRS tried unsuccessfully to

   collect,      W hen the governm ent filed a claim to foreclose its federaltax lien against the

   Eckhardts asalteregosofKCCI,the Eleventh Circuitheld thatthe history ofKCCI'Sformation,

   combined with evidence of transfers from its corporate account for M r.Eckhardt's personal

   beneft,including directly to his m ortgage com pany,established that M r.Eckhardt employed

   KCCIf0rthe improperpurposeofevading paym entofemploym enttaxes.Id at858.

          ln Walton,the Fifth DistrictCourtofAppealsfound sufficientevidence ofim properuse

   ofthe corporate form to reverse a directed verdicton piercing the corporate veil. Walton,632

    So. 2d at 181. The evidence showed that the corporate officer continued to operate the

   corporation forfive monthsafteritcould no longerpay itsdebts,during which tim ehecaused it

   tom akeim properdistributionsforhisand hisfam ily'sbenefit, 1d.at180.Evidence ofimproper

   distributionsincluded;(1)useofcorporatefundsto paytheoffcer'spersonalcreditcard debt,
    (2)paymentsto theofficer,allegedly forhissalary,butwhich did notrelatetopreviouspayroll
    checksorincludewithholdingforfederalpayrolltaxes,(3)weeklycheckspaidto hiswifeeven
   though she did notprovide selwicesto the business,and there was no evidence she had loaned

    the corporation money,as officer claimed,(4)paymentsallegedly forbusinessexpenses,but
    unsupported by documentation,(5)transferofthecorporation'sproceedsdirectly into officer's
    personalaccount,and(6)unexplained paymentstohisdaughter-in-law andtohisson'scharities.
    1d.at 179.

          Here, the undisputed evidence shows that M rs.Nam m used BBB for the im proper

    purpose of avoiding paymentto Plaintiff,BBB'S creditor. First,there isundisputed evidence


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   thatBBB m ade distributions for the Namm s'personalbenefit and withoutconsideration. As

   discussed in Section IlI.A .,the undisputed evidence showsnumerousdistributions from BBB'S

   corporate accountinto theNamms'jointbanking accountsforM rs.Namm'spersonalbenefit,
   and not for M rs.Namm 's salary or the repayment of a loan. In addition,BBB m ade direct

   paym entsto m ortgage companieson mortgagesforwhich M r.Nam m wassolely obligated. Yet

   M r.Nam m testified that he provided no consideration in exchange for the benefits that he

   received.(J.Namm Dep.12:6-21).AlthoughM rs.Namm assertsthatM r.Namm l'did assisther
   from timeto timein herwork for(BBBI,''sheoffersno specificdetailsorsupporting evidence.
   (DSOF !24).
          Second,the undisputed evidence shows that M rs.Namm caused BBB to make these

   transfersdespiteBBB'Sinsolvency. Plaintiffs ExpertReportreconstructed BBB'Sm onthly end

   balance sheets,16 and concluded that BBB'S liabilities exceeded its assets each m onth, by

   amounts ranging from $133,783 to $239,957,from the date of the Settlem ent,on M arch 27,
   2015,through the filing ofArticlesofDissolution forBBB on June 3,2016. See Fla.Stat.j
   726.103(1) (ii
                A debtoris insolventifthe sum ofthe debtor'sdebts is greaterthan al1ofthe
   debtor'sassetsata fairvaluation,''). In addition,M rs.Namm testised thatBBB wasalways
   behind on payments to its manufacturer.17 (Namm Dep., 112:21-24); see Fja, stat. j
   607.01401(16)(isilnsolvent'meanstheinability ofacorporation topayitsdebtsastheybecome

   16The Reportcalculated BBB'Sassetsbased on the cash in itsbank accounts,the billing reports
   to its primary custom ers, Costco and W almart, the assumption that BBB had 45 days of
   inventory atan average costof45% ofrelated sales,and its 2015 federaltax return show ing that
   ithadno ixedassets.(Reportat3).TheReportcalculatedBBB'Sliabilitiesbasedonthebilling
   statem ents from its m anufacturer and the debt owed to Plaintiff under the N otes, and,
   subsequently,theJudgment.(Reportat4).
   17Although M rs. Namm adm itsthatBBB wasalwaysbehind on itspaym entto itsmanufacturer,
   she explainsthatthiswasbecause ispaymenton theirinvoice wasdue 30 days afterinvoicing.''
   (Namm.Aff.! 106).M rs.Namm offersno explanationforwhy30dayswasinsufticienttimeto
   pay an invoice.
                                                19
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   dueintheusualcourseofitsbusiness.'');Fla.Stat.j726.103(2)(itA debtorwhoisgenerallynot
   payinghisorherdebtsastheybecomedueispresumedtobeinsolvent.'').
           Although M rs.N amm denies that BBB was insolvent,she provides no evidence to

    supportherdenial.18 shc arguesthatthe expertshould nothave included thefullam ountdue on

   BBB 'S debt in calculating B BB'S liabilities each m onth, but she offers no alternative

   calculations,including any balance sheetsthatshe maintained forBBB. Shealso statesthatshe

    ksbelievelsjtheRecipeshaveasignificantvaluetoday,which exceedsPlaintiffsdebt,''butdoes
   notstatewhatthatvalueis. (Namm Aff.!! 13,105);seeFed.R.Civ.P.56(c)(4)(i$An affidavit
    ordeclaration used to supportoroppose a motion m ustbe madeon personalknowledge,setout

    factsthatwould beadm issiblein evidence,and show thattheaffiantordeclarantiscompetentto

    testify on the mattersstated.''). Shesuggeststhatthe Recipesmay beworth around $300,000
    because Plaintiffpaid $300,000 under the AssetPurchase Agreementin 2012 t'for49% ofthe

    assetsofDeluxe.''(Namm Aff.!8).Yet,sheacknowledgesthatPlaintiffspaymentwasforall
    Deluxe's assets,and she offers no supportforherassertion thatilthe biggest assetof Deluxe''

    wastheRecipesorthatthevalueoftheRecipesisthesametodayasitwasin2012.(Namm Aff.

    !8).
           Finally,even ifBBB wasnotinsolvent,thereisdirectevidence thatM rs.N amm used the

    corporate form to avoid creditors. After M rs.Nam m tiled BBB'S Articles ofDissolution,she

    continued to transfer BBB'S proceeds into Deluxe's bank account instead of retaining the

    proceedsforBBB to pay itscreditors.


    18M rS. xamm assertsthatbutforPlaintiffsintentionalinterferencewith BBB'Scustomers,BBB
    wasçsmakingmoney.''(DSOF !32).M rs.Namm statesthatPlaintiffnotified BBB'Scustomers
    ofBBB'Sdebtto Plaintiffand requested thatthey m akepaymentsdiredly to Plaintiff. However,
    thisdoesnotcrcateagenuineissueofmaterialfactasto BBB'Sinsolvency.(Namm Aff.!!65-
    77).
                                               20
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          DefendantsarguethatPlaintiffdid nothave M rs.Nam m sign apersonalguarantee forthe

   Notes,despite Plaintiffsknowledge ofBBB'Sfnancialcondition,and thereforePlaintiffcannot

   now seek to hold M rs.N amm liable, However,Plaintiffwasentitled to rely on BBB'Sprom ise

   to repay its debt and is not required to prove that M rs.N amm m isled it regarding BBB'S

   financialcondition. See USP RealEstate lnv.Trustv.Disc.Auto Parts,Inc.,570 So.2d 386,

   393 (F1a.1stDCA 1990)(holding plaintiffwasnotrequired to prove thatcorporation made
   fraudulent representations regarding its financial condition to pierce corporate veil and was

   entitledtorelyon termsofagreement).
          In sum ,the undisputed evidence showsthatM rs.Namm improperly used the corporate

   fonn to avoid creditors by depleting corporate assets during BBB'S insolvency,and after its

   dissolution,forthepersonalbenefitofherselfand herfam ily in orderto avoid BBB'Screditor.

                   iii. lnjury toPlaintt
          lmproperuseofthe corporateform causesinjury to corporatecreditorswhen itprevents
   the collection ofoutstanding debts. Walton,632 So.2d at180;Eckhardt,463 F.App'x at858.

   Because itis undisputed thatPlaintiffhas been unable to collect its debt,Plaintiffhas shown

   injury. See Eckhardt, 463 F.App'x at 858 (holding creditor's inability to collect from
   corporationprovedinjuryfrom improperdistributions).
          Accordingly,Plaintiffs M otion for Summ ary Judgm entagainstM rs.Namm on Count

   vIIisgranted.'g Plaintiffisentitled to a declaratoryjudgmentthatMrs.Namm is liable for
   BBB'Sdebtto PlaintiffundertheJudgment,which was$233,593.59 asofApril17,2017.




   19Although the Complaintalso allegesthatDeluxe isliable asBBB'Saltcrego underCountVII,
   Plaintiffdoesnotmoveforsummaryjudgmentonthesegrounds.
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       C. CountV:Breach ofFiduciary Duties

          UnderCountVsPlaintiffseeksto recover$243,248.08 in fundsthatM rs N am m caused
                                                                                  .



   BBB totransfer,allegedly in breach ofherfiduciary duty toPlaintiffasacreditorofBBB.

          ti-rhe elem ents of a claim for breach of fiduciary duty are:the existence of a fduciary

   duty,and the breach ofthatduty such thatitisthe proximate cause ofthe plaintiffs damages.''

   Graceyv.Eaker,837So.2d348,353(F1a.2002).20
          Defendants argue thatdirectors and officers do notowe corporate creditors a fduciary

   duty under Florida law . Plaintiff cites several Florida bankruptcy court opinions for the

   proposition thata fiduciary duty to creditorsarisesupon a corporate entity'sinsolvency. See In

   re Trayord Distrib.Ctn,Inc.,431B.R.263,290 (Bankr.S.D.Fla.2010))In reAqua Clear
   Techs.,Inc.,361B.R.567,575(Bankr.S.D.Fla.2007);ln reSOL,LLC,No.09-12684-8KC-
   AJC,2012 W L 2673254,at#16 tBankr.S.D.Fla.July 5,2012). TheDelawareSupremeCourt,
   on which Florida courts rely in constnzing Florida cop orate law ,21c1arified thatdirectorsofan

   insolventcorporation do notowe directfiduciary dutiesto creditors:

          Recognizing thatdirectorsofan insolventcorporation owedirectfiduciary duties
          to creditors,would create uncertainty fordirectorswho have a fiduciary duty to
          exercisetheirbusinessjudgmentin the bestinterestoftheinsolventcorporation.
          To recognize a new rightfor creditors to bring direct fiduciary claim s against
          those directorswould create a conflictbetween thosedirectors'duty to maxim ize
          thevalueoftheinsolventcorporation forthebenefitofal1thosehaving an interest
          in it, and the newly recognized direct fiduciary duty to individual creditors.
          Directorsofinsolventcorporationsmustretain the freedom to engage in vigorous,
          good faith negotiationswith individualcreditorsforthebenefitofthecorporation,
          Accordingly,wehold thatindividualcreditorsofan insolventcorporation haveno
          right to assert direct claim s for breach of fiduciary duty against corporate
          directors.

   20B ecause BBB is a Florida lim ited liability com pany and breach offiduciary duty involves its
   internalaffairs,Florida 1aw applies. See Chatlos Found ,882 So.2d at 1023. D efendants do not
   disputethe application ofFloridalaw .
   21Connolly v. Agosti no'sRistorante,Inc.,775So.2d387,388(F1a.2dDCA 2000);1nt1Ins.Co.
   v.Johns,874 F.2d 1447,1459n.22(11thCir.1989).
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   N Am.CatholicEduc.Programming Found.,Inc.v.Gheewalla,930 A.2d 92,103 (De1.2007)
   (emphasisin original). TheFloridabanknlptcycourtopinions,cited by Plaintiff,relyon Geyer
   v. lngersollPublications Co., 621 A.2d 784, 787-88 (De1.Ch. 1992).22 Although Geyer

   suggested thata fsduciary duty to creditorsm ay arise upon corporate insolvency,the subsequent

   Gheewalla opinion clarified thatitdoes not. See M ukamalv.Bakes,378 F.App'x 890,898

   (11th Cir.2010)(explaining thatGeyer suggested a fiduciary duty to creditorsmay ariseupon

   insolvency,butGheewallaclarifiedothenvise).
          Although creditors have no right to assertdirectclaim s for breach of fduciary duty,

   S'lcqreditorsmaynonethelessprotecttheirinterestby bringing derivativeclaimsonbehalfofthe
   insolvent corporation or any other direct nonfiduciary claim       .that may be available for

   individualcreditors.'' Gheewalla,930 A.2d at103(emphasisin original). Here,Plaintiffdoes
   nOtptlrpol'tto asserta derivative Claim forrelief.z3 Rather, Plaintiff argues thatC'M rs.Namm



   22Forthepropositionthatthereisadirectfiduciarydutytocreditors,InreTraffordDistrib.Ctr,
   fnc.,43lB.R.263,290tBanltr.S.D.Fla.2010)citesIn reToy King Distributors,Inc.,256B.R.
   1,167 tBanltr.M .D.Fla.2000),which cittsIn reAqua Clear Techs.,Inc.,361B.R.567,575
   tBallkr.S.D.Fla.2007),which citesGeyer. Theotherbanknlptcy courtcasecited byPlaintiff,
   ln reSOL,LLC,No.09-12684-BKC-AJC,2012 W L 2673254,at#16 (Bankr.S.D.Fla.July 5,
   20l2),citesno authority forthisproposition. lwasableto findoneFloridastatecourtcasethat
   statesthereisadirectduty,Connollyv.Agostino'sRistorante,Inc.,775So.2d387,388(F1a.2d
   DCA 2000),butthiscasealsoreliesonGeyer.W hileGuar.Trust& Sav.Bankv.US.TrustCo.,
   103 So.620,622 (Fla.1925)andPoe drAssocs.,Inc.v.Emberton,438So.2d 1082,1084 (F1a.
   2d DCA 1983)address directors'dutiesto creditorsupon insolvency,they both arise in the
    context of prohibiting preferential paym ent of debts owed to directors over debts owed to
    creditors. Thus,to the extent Guaranty Trustand Poe perm it a creditor cause of action for
    breach offiduciary duty,despite Delaware 1aw to the contrary,they do so only to the extentof
    the creditor'sclaim againstthe corporation. Becauselfind thatM rs.N amm isliable forthe full
    am ount of the debt that BB B ow es to Plaintiff under a theory of piercing the corporate veil,l
    need not determ ine whether Plaintiff could also recover that sam e am ountunder a theory of
    breach Oftiduciary duty.
    23dtETjhe currentFlorida doctrine explaining which actionsshould bemaintained directly and
    which m ust be brought derivativcly is incredibly opaque.'' Dinuro Investments, LLC v.
    Camacho,141 So.3d 731,739 (Fla.3d DCA 2014). The Third DistrictCourtofAppeals
                                                  23
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   breachedherduty ofcareanddutyofloyaltytoTTT Foodsasacreditorof(BBBIbycausingthe
   Transferstooccur.'' (DE 74 at14). Accordingly,Plaintiff'sMotion forSummary Judgmenton
   CountV isdenied.

      D . Counts 1,ll,111:FraudulentT ransfers

          Plaintiff seeks to recover$221,260 againstM rs.Namm and M r.Namm,jointly and
   severally,forthe alleged fraudulenttransfersthatM rs.Namm caused BBB and Deluxe to make
   to orforthebenefitofM rs. and M r.N amm .24

          UnderFUFTA,

          thecreditormay recoverjudgmentforthevalueoftheassettransferred ...orthe
          amountnecessary to satisfy thecreditor'sclaim,whicheverisless.Thejudgment
          may be entered against:

                 (a)The firsttransferee ofthe assetorthe person forwhose benefitthe
                     transferwasm ade;or




   recently adopted the following test:Ssan action may be broughtdirectly only if(1)there isa
   directharm totheshareholderormembersuchthattheallegedinjury doesnotflow subsequently
   from an initialhanu to the company and (2)there is a specialinjury to the shareholderor
   mem berthatisseparateand distinctfrom those sustained by theothershareholdersorm embers.''
   Id at739-40 (citationsomitted)(emphasisin original). However,$é(a)shareholderormember
   neednotsatisfythistwo-prongtestwhenthereisaseparateduty owedbythedefendantts)tothe
   individualplaintiffundercontractualorstatutory mandates.'' f#.at740. The Delaware Supreme
   Court,which In re TOUSA,Inc.,437 B.R.447,457 (Bankr.S.D.Fla.2010) followed in
   intepreting Florida 1aw on when a suitis directversus derivative,setforth the following test:
   i'gtlheanalysisgfordistinguishingbetween directandderivativeactions)mustbebased solely on
   the following questions: W ho suffered the alleged harm - the corporation or the suing
   stockholderindividually - and who would receivethe benefitofthe recovery orotherrem edy?''
   Tooley v.Donaldson,L1/  .J
                            lin (Q Jenrette,fnc.,845 A.2d 1031,1035 (De1.2004). SdBecause a
   derivative suitisbeing broughton behalf ofthe corporation,the recovery,ifany,m ustgo to the
   corporation.'' 1d.at1036. H ow ever,the Florida Fourth D istrictC ourtofAppealshasdeclined to
   adoptthistest.Kartenv.Woltin,23So.3d 839,841(F1a.4thDCA 2009).
   24 B ecause I have already found M rs. N am m liable for the full am ount of the debt BBB ow es
   Plaintiff, w hich exceeds the am ount of the fraudulent transfers, 1 need not address Plaintiffs
   alternate theory to recoverthisam ountfrom M rs.N am m under Counts 1,lI,and 111. Ineed only
   addresstheextentto which M r.Namm isjointly liablewith M rs.Namm forBBB'Sdebtbased
   on the nm ountoffraudulenttransfers,ifany,m ade forhisbenefit.
                                                 24
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                (b)Any subsequenttransfereeotherthan agood faith transfereewhotook
                    forvalueorfrom any subsequenttransferee.

   Fla.Stat.j726.109(2).$$A transferorobligation isnotvoidableunders.726.105(1)(a)againsta
   person who took in good faith and fora reasonably equivalentvalue oragainstany subsequent

   transfereeorobligee.''Fla.Stat.j726.109(1).
         To prove a fraudulenttransferunderFUFTA,the creditormustdemonstrate thatç$(1)
   there was a creditor to be defrauded;(2)a debtor intending fraud;and (3)a conveyance of
   property which could have been applicable to the paymentofthe debtdue.'' Nationsbank N A.

   p.CoastalUtils.,lnc.,814 So.2d 1227,1229(F1a.4thDCA 2002).
         t#A écreditor'is la person who has a claim s'and 'claim 'isbroadly defined as Sa rightto

   payment,whether or notthe right is reduced to judgment,liquidated, unliquidated,fixed,
   contingent,m atured,unm atured,disputed,undisputed,legal,equitable,secured,orunsecured.'''

   Wiand r.Lee,753 F.3d 1194,1200 (11th Cir.2014)(citingFla.Stat.jj726.10243),(4)). SiIA)
                                                                                        I
   conveyanceofproperty which could havebeen applicableto thcpaym entofthe debtdue''occurs

   when a debtorisdivertrs)property thathe controlgs)and thatcould have been applicableto the
   debtdue.'' 1d. ltisundisputed thatBBB owed Plaintiff$170,000.01 underthe Notesexecuted
   as partof the Settlem ent on M arch 27,2015. lt is also undisputed that BBB owed Plaintiff

   $176,001.76, plus 4.75% interest, as of April 18, 2016, and an additional $47,178.68 in
   attorney's fees,plus4.78% interest,as ofM ay 16,2016,underthe Judgm ent. As ofApril17,

   2017,BBB hasnotpaid Plaintiffany ofthe Judgm ent. Accordingly,the undisputed factsshow

   thatPlaintiffis a creditor,BBB isa debtor,and any diversion offundsup to the amountofthe

   Judgm entcould have been applicableto thedebtdue.




                                                 25
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          FUFTA createsa cause ofaction forboth actualand constructive fraud.25 see Amjad

   Munim,M D.,P.A.v.Wzlr,648 So.2d 145,152 (F1a.4th DCA 1994). Section 726.105(1)(a),
   FUFTA'Sactualfraudprovision,statesthatislaltransfermadeorobligation incurredbyadebtor
   isfraudulentas to a creditor,whetherthe creditor's claim arose before orafterthe transferwas

   madeortheobligation wasincurred,ifthedebtormadethetransferorincurred theobligationl)
   gwlith actual intentto hinder,delay,or defraud any creditor of the debtor.'' Fla. Stat.9
   726.105(1)(a).Underj726.106(1),FUFTA'Sconstructivefraudprovision,kkgajtransfermadeor
   obligation incurred by a debtor is fraudulent as to a creditor whose claim arose before the

   transferwasm ade orthe obligation was incurred ifthe debtorm ade the transferorincun'ed the

   obligation without receiving a reasonably equivalent value in exchange for the transfer or

   obligation and the debtorwasinsolventatthattim eorthe debtorbecam einsolventasa resultof

   thetransferorobligation.'' Fla.Stat.j726.106.tdunderthe FJUFTA,adebtoristinsolvent'if
   the sum ofhisdebtsisgreaterthan hisassetsata fairevaluation,section 726.103(1),Florida
   Statutes (1993),or a debtor is presumed insolventif generally notpaying his debts as they
   becomedue,id.atsection726.103(2).''M unim,648So.2dat153.
          $çln determ ining whether a transfer was made with actualintentto defraud a creditor,

    courts look to the statutory tbadges of fraudr'''identified in Fla.Stat.j 726.105(2)(a)-(k).
    Wiand,75?F.3dat1200.Section726.105(2)(a)-(k)liststhefollowingbadgesoffraud:
          (a)Thetransferorobligationwastoaninsider.
          (b)Thedebtorretainedpossession orcontrolofthepropertytransferred afterthe
          transfer.

           (c)Thetransferorobligationwasdisclosedorconcealed.


    25countIassertsaclaim underFUFTA'Sactualfraud provision. Counts11and lIIseek thesam e
    fundsunderatheory ofconstructivefraud.
                                                26
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         (d)Beforethetransferwasmadeorobligation wasincurred,the debtorhadbeen
         sued ortlzreatened with suit.

         (e)Thetransferwasofsubstantiallyal1thedebtor'sassets.
         (9 Thedebtorabsconded.
         (g)Thedebtorremovedorconcealedassets.
         (h) The value of the consideration received by the debtor was reasonably
         equivalent to the value ofthe assettransferred orthe amount ofthe obligation
         incurred.

         (i)The debtorwasinsolventorbecame insolventshortly afterthe transferwas
         m adeortheobligation wasincurred.

         ()The transfer occurred shortly before orshortly after a substantialdebtwas
         incurred.

         (k) The debtortransferred the essentialassets ofthe business to a lienor who
         transferredthe assetsto an insiderofthedebtor.

   Fla.Stat.j726.105(2)(a)-(k).
         id-l-he existence of badges of fraud creates a prim a facie case and raises a rebuttable

   presumptionthatthetransactionisvoid.''26 In reSytzaj,580F.App'x 740,745(11th Cir.2014)
   (citing Gen.Elec.Co.v.Chuly 1nt7,LLC,118 So.3d 325,327(F1a.3dDCA 2013)). SdW hilea
   single badge of fraud may only create a suspicious circum stance and m ay not constitute the

   requisitefraud to setasideaconveyancel,lseveralofthem when considered togethermayafford
   abasisto inferfraud.'' Wiand,753 F.3d at1200 (citing Johnson v.Dowell,592 So.2d 1194,
    l197 (Fla.2d DCA 1992)(internalquotationsomittedl);seealsolnres?/t
                                                                     '
                                                                     w/,580 F.App'x at
   746,Forexample,inIn reBfani,theEleventhCircuitaftlrmedsummaryjudgmentinfavorofa
   creditor because four badges of fraud established a presum ption of actual intent to defraud,

   which the debtor did notrebut. 580 F.App'x 740,746 (11th Cir.2014). The debtor (1)

   26 Alternatively, evidence of actualfraudulent i
                                                  ntentestablishesan unrebuttable claim. Amjad
   M unim,648 So.2datl53.
                                                27
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   transferredpropertyto aclosefriend,or(iinsiders''(2)afteralawsuithad been filedagainsthim,
   (3)which property the debtorcontinued to use,and (4)forwhich he received no reasonably
   equivalentvalue in exchange. ld at745-56. The debtorargued thatthe transferwasto repay a

   loan madebythetransferee,butthecourtrejectedthedebtor'sargumentasunsupported by any
   evidence. Id at746. Rather,the evidence showed thatthe debtorrarely m ade paym ents on the

   loan owed to the transferee,thatneitherdebtornortransferee kepttrack ofthe paym entsmade,

   thatthetransferee neverdemanded paym entfortheloansorfound thedebtorin default,and that

   afterthetransfcr,thetransfereeclaim ed thattheentireloan wasoutstanding in bankruptcy court.

   1i at746-77.

             Transfersk om BBBforthebenehtofMr.Namm
         PlaintiffassertsthatBBB transferred $102,522.44 to orforthe benefitofM r.and M rs.

   Nam m afterBBB incurred a$170,000.01debtto Plaintiffunderthe Settlem ent.
          ltisundisputed thatthe followingstransfers,in the am ountof$39,417.48,benefited M r.
   N am m , (DE 75-21;DE 75-23):27

          (1)$10,570 transferred from BBB to the Namms'Barlk of America joint checking
             accountno.2389 andTD Bankjointsavingsaccountno.3496by BBB (PSOF !48;
             DSOF !25);
          (2)$20,137.15 transferred from BBB directly to the Ocwen and Freedom M ortgage
             companies to pay the m ortgage on the N amm s'personalresidence,for which M r.

             Namm wasthe sole owneroftheresidenceand personally obligated on them ortgages

             (PSOF !!37,38;DSOF ! 16);and



   27DetkndantsdisputethattheothertransferswereforthebenefitofM rs.andM r.Nmnm.(PSOF
   !(35;DSOF! 14).
                                               28
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          (3)$11,077.30 transferred from BBB directly to Toyota and Progressive lnsurance for
             M r.Namm 'svehicle(PSOFT39;DSOF! 16).28
          For these transfers,fraudulentintentmay be presumed from the evidence ofnum erous

   badgesoffraud. First,thetransfersoccurred shortly afterBBB incurred a substantialdebtunder

   theNotes. Second,m any ofthe transferswere made afterPlaintiffbroughtsuitagainstBBB on

   June 3,2015 to recover the debt ow ed under the N otes. Third,BB B w as insolvent,starting in

   M arch 2015,asdiscussed in Section 1l1.B.ii. Fourth,BBB did notreceive,in exchange forthe

   transfers,value from M r.Nam m thatis reasonably equivalentto $39,417.48,as discussed in
   Section 11I.B.ii. Finally,there isevidencethatBBB attem ptedto concealthetransferswhen M rs.

   Nam m,asBBB'Srepresentative,swore,in response to an intenogatory in aid ofexecution ofthe

   Judgm ent,thatBBB hadnotsoldortransferred personalproperty in the lastfouryears.

          To rebutthe presum ption offraud,Defendantsassertthatthe transfersrepresentbusiness

   expenses,repayment for a loan from M rs.Namm to BBB,and M rs.Nam m 'ssalary. First,as

   stated above,Ihave deducted thenm ountofBBB'Sbusinessexpensesfrom the transfersm adeto

   M r.Namm . Second,f0rthereasonsdiscussed in Section I11.B.ii,thereisno evidencethatany of

   the transferswereto compensateM rs.Namm orforrepaym entofa loan. Accordingly,because

   Defendantshave notoffered evidenceto rebutthepresum ption offraud,the CourtfindsthatM r.

   Namm isliable for$39,417.48 in fraudulenttransfersfrom BBB thatcould otherwisehavebeen
   applied to paymentofthedebtdueto Plaintiff




   28 P1aintiff asserts that $2,366.97 of the transfers to Toyota and Progressive were business
   expenses for use of the vehicle as a business vehicle, and accordingly,I have deducted this
   amount.(DE 78-3;DE 78-4).
                                                29
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          ii.    Transfersh'om DeluxeforthebenejltofMr.Namm
         Plaintiffalso seeks$118,737.56 againstMr.and M rs.Namm,jointly and severally,for
   transfersfrom Deluxe fortheirbenefit.Plaintiffassertstwotheories.

         First,Plaintiff asserts that Deluxe's transfers for M r.Nam m were fraudulent because

   Deluxeisa Sidebtor''to Plaintiffundersuccessorliability. However,the Partieshavenotbriefed

   whethersuccessorliability applies retroactively such thatDeluxe may be considered Plaintiffs

   debtorwhen thetransferswerem ade.Regardless,Plaintiffhasnotm etitsburden ofestablishing

   actual or constructive fraud. Plaintiff provides no evidence that Deluxe was insolvent,had

   recently incurred a substantialdebt,was the subjectofa recentlawsuit,orthatM rs.Namm
   attemptedtoeoncealDeluxe'stransfers. SeeFla.Stat.jj726.105(1)(a),726.106(1).Nordoes
   Plaintiff provide evidence that Deluxe was engaged in a business for which its assets were

   unreasonably sm all,or forwhich itintended to incur debtsbeyond its ability to pay. See Fla.

   Stat.jj726.105(1)(b).
          Altem atively,PlaintiffassertsthatM rs.Nam m fraudulently deposited BBB'S funds into

   Deluxe's account,and these funds can be traced to M r.N amm . However,Plaintiff has not

   offered sufficient evidence for the Courtto trace BBB'S profits to the transfers made to M r.

   Nam m.29 see In yeInt'lAdm in. servs.
                                       ,Inc.,408F.3d 689,708(11thCir.2005)(tracingfundsin
   claimsbroughtunderfederal1aw and FUFTA). Forexample,the StatementofFactsdoesnot
   indicate whether,and on whatdates,Deluxe received funds from other sources besides BBB.

   Accordingly,there is insuficientevidence forthe Courtto determinethatPlaintiffis entitled to




   29'Fhe partieshavealso notbriefed the propermethod oftracing thattheCourtshould apply
   underFUFTA.Cf InrePalisadesatlJrPaceslmaging Ctr.,LLC,501B.R.896,917 (Bankr.
   N.D.Ga.2013)(collectingcasesapplyingdifferentmethodsoftracing).
                                                30
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   judgmentagainstMr.Namm in the amountofthetransfers allegedly made by Deluxe forhis
   benest.
         In sum ,Plaintiffs M otion for Summ ary Judgm ent on Count l is granted in part and

   denicd in part.Mr.Namm isjointly liable for the Judgm ent in the amount of $39,417.48.30
   Plaintiffs M otion for Summ ary Judgm entis denied on Counts 1,1l,and 11lasto the transfers

   from Deluxe. Accordingly,itishereby

         ORDERED AND ADJUDGED that

         (1)Plaintiffs M otion (DE 74) is GM NTED IN PART AND DENIED IN PART.
             Plaintiffisentitled to summaryjudgmentasto CountsVland V1l,and to partial
             summaryjudgmentas to Count1. Deluxe and M rs.Namm arejointly liable with
             BBB forthe entireJudgment,in the amountof$233,593.59 asofApril17,2017,and

             Mr.Namm isjointlyliablewith Deluxe,M rs.Namm,andBBB upto$39,417.48.
          (2)ThiscasewillproceedtotrialastoCountslsII,111,and 1V.
          DONE AND ORDERED in Cham bersin          WestPalmBe , orida,this 8 dayof
    M ay,2017.




                                                       LD M .M IDDLEBROOKS
                                                  UNITED STATES DISTRICT JUDGE
    Copiesto:    CounselofRecord




    30 Because l found M r. N amm liable under Count l for BBB'S transfers, 1need notaddress
    Plaintiffsalternatetheoriesofliability underCounts11and 111.
